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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

        Plaintiff,

  v.

  MB HOME IMPROVEMENTS, INC., et al. ,

        Defendants.

  _______________________________________/

                             ORDER SCHEDULING MEDIATION

        The mediation conference in this matter shall be held as follows:

        Mediator:        Lori Adelson, Esq.

        Date:            March 13, 2025

        Time:            1:00 p.m.

        Location:        Via Zoom

        DONE AND ORDERED in the Southern District of Florida on December 12, 2024.




  cc:   counsel of record
